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        March 31, 2011

        Via Electronic Filing and First Class Mail

        Hon. Carol B. Amon
        United States District Judge
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, N.Y. 11201

        Re:          Anand Dasrath v. Ross University School of Medicine
                     07 CV-2433 (CBA) (RER)
        Our File No. 6970

        Dear Judge Amon:

        As a follow up to my most recent letter, (Document No. 92) it has come to my attention that
        Opposition papers to both Motions for Summary Judgment are due today, March 31, 2011.

        In speaking with Defendant's counsel, I have learned that he is ready to serve his opposition
        papers. However, due to the reasons set forth in my previous letter, I am not in a position to do
        so at this time. Because the Defendant is ready to serve its Opposition papers and Plaintiff is not,
        this may cause a scheduling conflict. It would be best if all parties were directed to submit
        opposition and reply papers on the same date.

        Thus, your prompt attention to this matter as to how the parties should proceed with respect to
        serving opposition papers as well as reply papers would be greatly appreciated.
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                                  COSTELLO & COSTELLO, P.C.



 Thanking you for your understanding in this matter, I am

 Very truly yours,




 COSTELLO & COSTELLO, P.C.
 BY: JOSEPH R. COSTELLO
 JRC/
 Encs.
 CC: Justin Capuano, Esq. via ECF and First Class Mail




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